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CLERK U.S. DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON AT TACOMA
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UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF WASHINGTON
AT TACOMA

UNITED STATES OF AMERICA,
Plaintiff,
V.
HUMBERTO F. FLORES SERNA,
Defendant.

 

 

NO. 3:21-mj-05146

COMPLAINT FOR VIOLATION

Title 18, United States Code,
Section 922(g)(5)

Before Theresa L. Fricke, United States Magistrate Judge, U.S. Courthouse,

Tacoma, Washington.

The undersigned complainant being duly sworn states:

COUNT 1

Prohibited Person in Possession of a Firearm

On or about June 30, 2021, at Puyallup, Washington, in the Western District of
Washington, HUMBERTO F. FLORES SERNA, knowing that he was an alien illegally

or unlawfully in the United States, did knowingly possess in and affecting interstate and

foreign commerce ammunition and a firearm, to wit: a Colt Gold Cup Trophy Model

pistol bearing serial number GCT47864, which had been shipped and transported in

interstate and foreign commerce.

Complaint/U.S. v. Flores Serna - |

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All in violation of Title 18, United States Code, Section 922(g)(5).

And the complainant states that this Complaint is based on the following
information:

I, SHAWNA MCCANN, being first duly sworn on oath, depose and say:

I. INTRODUCTION AND AGENT BACKGROUND

1. I am employed as a Special Agent (SA) with the Federal Bureau of
Investigation (FBI) and have been employed with the FBI since September 2017. I am
currently assigned to the Seattle Field Division where I am a member of the violent
crime, gang, and Transnational Organized Crime — Western Hemisphere squad. In this
capacity, I investigate, inter alia, violations of the Controlled Substance Act, Title 21,
United States Code, Section 801 et seq., and related offenses. I have received specialized
training in the enforcement and investigation of the Controlled Substance Act. I have
received over 400 hours of classroom training including, but not limited to, drug
identification, drug interdiction, money laundering techniques and schemes, smuggling,
and the investigation of individuals and/or organizations involved in the illegal
possession, possession for sale, sales, importation, smuggling, manufacturing, and
trafficking of controlled substances.

2. In my role as a Special Agent for the FBI, I have participated in narcotics
investigations (e.g., heroin, cocaine, marijuana, and methamphetamine) that have resulted
in the arrest of individuals and the seizure of illicit narcotics and/or narcotics-related
evidence and the forfeiture of narcotics-related assets. I have been involved in the service
of federal and state search warrants as part of these investigations. I have encountered
and have become familiar with various tools, methods, trends, paraphernalia, and related
articles utilized by various traffickers in their efforts to import, export, conceal, and
distribute controlled substances. I am also familiar with the manner in which drug
traffickers use telephones, often cellular telephones, to conduct their unlawful operations,
and how they code their conversations to disguise their unlawful activities. I am also

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familiar with the various methods of packaging, delivering, transferring, and laundering
drug proceeds. Additionally, through my training and experience, I can identify illegal
drugs by sight, odor, and texture.

3. I have also worked on drug investigations involving the use of court-
authorized wiretaps under Title III. In that capacity, I have had the opportunity to
monitor, listen to, and review transcripts and line sheets (prepared by linguists)
documenting the content of hundreds of intercepted conversations involving the
trafficking of cocaine, methamphetamine, heroin, and other narcotics, by persons who
used some form of code to attempt to thwart law enforcement detection. I have also
interviewed defendants at the time of their arrest and have debriefed, spoken with, and/or
interviewed numerous drug dealers or confidential sources (informants) at proffer and
field interviews who were experienced in speaking in coded conversation over the
telephone. From these interviews, and also from discussions with other experienced
agents, I have gained knowledge regarding the various methods, techniques, codes,
and/or jargon used by drug traffickers in the course of their criminal activities, including
their use of firearms to protect their narcotics-related activities and of cellular telephones
and other electronic means to facilitate communications while avoiding law enforcement
scrutiny.

4. I have written affidavits in support of court-authorized federal warrants and
orders in the Western District of Washington for GPS tracking of telephones, Pen
Register/Trap and Trace, and search warrants. Additionally, I have testified in grand jury
proceedings, written investigative reports, and conducted and participated in numerous
interviews of drug traffickers of various roles within drug organizations, which has
provided me with a greater understanding of the methods by which drug trafficking
organizations operate.

5. I am an investigative law enforcement officer of the United States within
the meaning of 18 U.S.C. § 2510(7). As such, I am empowered to conduct investigations

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of, and to make arrests for, violations of the Controlled Substance Act, Title 21, United
States Code, Section 801 et seq., and related offenses.

6. The facts set forth in this Affidavit are based on my own personal
knowledge; knowledge obtained from other individuals during my participation in this
investigation, including other law enforcement personnel; review of documents and
records related to this investigation; communications with others who have personal
knowledge of the events and circumstances described herein; and information gained
through my training and experience. Because this Affidavit is submitted for the limited
purpose of establishing probable cause to believe that Defendant committed the crime set
forth herein, this document does not contain all of my knowledge of the larger
investigation.

II. PURPOSE OF AFFIDAVIT

we This Affidavit is made in support of a Complaint against HUMBERTO F.
FLORES SERNA for one count of Prohibited Person in Possession of a Firearm, in
violation of Title 18, United States Code, Sections 922(g)(5).

Ill. SUMMARY OF PROBABLE CAUSE

8. I, together with other agents and officers of the FBI, the Seattle Police
Department (SPD), and other agencies have been conducting an investigation of a large
Drug Trafficking Organization (DTO) which was believed to be distributing significant
amounts of cocaine, crack cocaine, marijuana, and other controlled substances in the
Western District of Washington.

9. On June 28, 2021, I applied for and obtained authorization to search a
number of locations, vehicles, and individuals based on this investigation. Two of these
warrants authorized the search of 1003 7th Avenue Southeast, #A, Puyallup, Washington
and the person of HUMBERTO F. FLORES SERNA, a resident at that location.

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10. On June 30, 2021, law enforcement personnel executed these warrants,
including at 1003 7th Avenue Southeast, #A, Puyallup, Washington. At the beginning of

the warrant execution, investigators knocked and announced their presence. This

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announcement was repeated with the use of an amplifier, and marked patrol cars on the
scene activated their lights and sirens.

11. | After waiting a reasonable time, investigators forced entry into the
residence and began to clear it. One officer stood near the front door at the bottom of a
staircase to the upper floors while other investigators checked the main floor for other
occupants. As they did so, the investigators repeatedly announced themselves as police.

12. As investigators were completing clearing the first floor and preparing to
go up to the second floor, HUMBERTO F. FLORES SERNA began to come down the
stairs from the second floor. The officer standing at the bottom of the stairs observed that
HUMBERTO F. FLORES SERNA had what appeared to be a handgun in each hand.
That officer fired at HUMBERTO F. FLORES SERNA, hitting him in one of his legs.
HUMBERTO F. FLORES SERNA fell backwards, dropping the two items in his hands.
Officers promptly rendered aid to HUMBERTO F. FLORES SERNA and arranged for
him to be transported to a local hospital for medical attention.

13. After the scene was cleared, investigators more closely observed the two
apparent firearms. One was a black pellet gun that otherwise appeared to be a real
firearm. The second was a firearm pursuant to federal law; it was a Colt Gold Cup
Trophy Model pistol bearing serial number GCT47864. This firearm did not have a
magazine inserted.

14. ATF Special Agent Catherine Cole, a recognized expert in the manufacture
of firearms, has examined the Colt pistol. According to SA Cole, the Colt pistol meets the
federal definition of a firearm, and it was not manufactured in the State of Washington.
Therefore, because the pistol was recovered in this District, it was necessarily shipped or
transported in interstate or foreign commerce.

15. | The remainder of the residence was searched pursuant to the warrant.
Investigators located a gun case for the Colt pistol along with two magazines in the closet
in the main bedroom. In the same bedroom, investigators located HUMBERTO F.

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FLORES SERNA’s wallet on a nightstand along with two cell phones; a third cell phone
was on the other nightstand on the other side of the bed.

16. Inthe laundry room, investigators found a small box containing
approximately one ounce of suspected cocaine, a scale, a spoon, and packaging material.

17. [had previously requested records from the Department of Homeland
Security regarding HUMBERTO F. FLORES SERNA’s status in this country. DHS
provided records documenting that HUMBERTO F. FLORES SERNA 1s not legally in
the United States.

IV. CONCLUSION

18. Based on the above facts, I respectfully submit that there is probable cause
to believe that HUMBERTO F. FLORES SERNA did knowingly and intentionally
commit the crime of Prohibited Person in Possession of a Firearm, in violation of Title

18, United States Code, Sections 922(g)(5).

 

Shawna McCann, Cohsflainant
Special Agent, FBI

Based on the Complaint and Affidavit, to which the above-named agent provided
a sworn statement attesting to the truth of the contents of such, the Court hereby finds
that there is probable cause to believe the Defendant committed the offense set forth in

the Complaint.

Dated this 30th day of June, 2021.

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The Honorable Theresa L. Fricke
United States Magistrate Judge

 

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